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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

CHARLES L. JONES                            )
    Petitioner,                             )
v.                                          )      Case No. 12-CV-03055-JAR
                                            )
REX PRYOR, et al.,                          )
     Respondents.                           )


  PETITIONER’S RESPONSE TO RESPONDENT’S MOTION TO PROHBIIT
         ARGUMENT FROM PETITIONER’S STATUS REPORTS

       Relying on no authorities and scant reasoning, Respondent requests that Petitioner

limit his status reports to this Court “to merely reporting the status of the litigation” and

not including “any argument or assertions of fact not grounded on record evidence.”

       Respondent’s motion is without merit and should be summarily denied for the

reasons stated below:

       1. Petitioner Charles Jones has a pending petition in the Wyandotte County

           District Court based on violations of Brady v. Maryland, 373 U.S. 83 (1963).

           The petition alleges that numerous, material facts would, if proved, undermine

           all confidence in the verdict.

       2. Since the filing of Mr. Jones’ Wyandotte County petition, which has been

           submitted to this Court as part of a status report (Doc. 153), Petitioner’s

           counsel has continued vigorously investigating the case. As a result, the

           factual basis for Petitioner’s Brady claim has grown substantially, and

           Petitioner has therefore reported those developments to this Court.
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3. The filings by Petitioner do not require any answer by Respondent; they are

   merely intended to apprise the Court of the status of the investigation and

   comply with the Court’s direction to provide a report to the Court every four

   months. The factual assertions are not formal allegations and are not deemed

   admitted in the absence of a response by the Respondent.

4. The investigation in this case has continued for some time, which is partly a

   reflection of the challenges of conducting a sensitive investigation into police

   misconduct and doing so at the same time the FBI is conducting an

   investigation into similar allegations. The day after Respondent filed his

   motion, the United States Attorney’s Office in the District of Kansas filed a

   second Indictment against former Detective Roger Golubski, alleging that

   Golubski and three others engaged in a wide-ranging conspiracy to violate

   federally protected rights, including kidnaping minor females, holding them in

   involuntary servitude and sexually abusing them. United States v. Golubski et

   al, No. 22-CR-40086 (Nov. 10, 2022). The first indictment against Golubski,

   filed two months earlier, alleged that Golubski had deprived two victims of

   their civil rights, by engaging in kidnaping and aggravated sexual abuse.

   United States v. Golubski, No. 22-CR-40055 (Sept. 14, 2022)

5. The broad allegations that Petitioner has included in his periodic reports to this

   Court have caused no prejudice to Respondent. Based on the Supreme Court’s

   decision in Shinn v. Ramirez, 142 S. Ct. 1718 (2022), Petitioner is required to

   exhaust all of his facts – pertaining to every claim, not just the Brady claim –
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          in state court. Therefore, Petitioner’s reports on the status of his investigation

          are merely informational and require no response from Respondent.

      WHEREFORE, for all of the reasons stated above, Petitioner requests that this

Court deny Respondent’s motion.

                                                         Respectfully submitted,

                                                         /s/ Cheryl A. Pilate
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                                CERTIFICATE OF SERVICE

      I, Cheryl A. Pilate, certify that a true and accurate copy of the foregoing document
was served on the Clerk of the Court and on all counsel of record via the CM/ECF system
on November 23, 2022.

                                                  /s/ Cheryl A. Pilate
